         Case 8:21-cv-01736-TDC Document 52-8 Filed 12/06/22 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 MARYLAND SHALL ISSUE, INC., et al.,             )
                                                 )
 Plaintiffs,                                     )
                                                 )
 v.                                              ) Case No. 8:21-cv-01736-TDC (L)
                                                 ) Case No. 8:22-cv-01967-DLB
 MONTGOMERY COUNTY, MD.,                         )
                                                 )
 Defendant.                                      )


                             ALTERATIVE PROPOSED ORDER

        `1.    Having reviewed Plaintiffs’ Emergency Motion for a Temporary Restraining Order

and Emergency Motion for a Preliminary Injunction and accompanying memorandum of law, IT

IS HEREBY ORDERED, that:

        2.     Plaintiffs’ Motion for a Temporary Restraining Order and preliminary injunctive

relief is GRANTED, IN PART, and the Defendant, Montgomery County, Maryland, is hereby

restrained from enforcing Section 57-11(a) of the Montgomery County Code as against any person

who possesses, in accordance with State law, a wear and carry permit issued by the Maryland State

Police pursuant to MD Code, Public Safety, § 5-306, and who provides armed security to a place

of worship and/or to private schools, and,

IT IS HERBY FURTHER ORDERED, that:

        3.     Plaintiffs’ Motion for a Temporary Restraining Order and preliminary injunctive

relief is GRANTED, IN PART, and the Defendant, Montgomery County, Maryland, is restrained

from enforcing Section 57-11(a) of the Montgomery County Code as against any person who

possesses a wear and carry permit issued by the Maryland State Police pursuant to MD Code,

Public Safety, § 5-306, to the extent that Section 57-11(a) prohibits the possession, transport, sale



                                                 1
        Case 8:21-cv-01736-TDC Document 52-8 Filed 12/06/22 Page 2 of 2



or transfer of any firearm within 100 yards of a “place of public assembly,” as that term is defined

and used by Chapter 57 of the Montgomery County Code, and

IT IS HERBY FURTHER ORDERED, that:

       4.      The remaining issues associated with plaintiffs’ motion for a preliminary injunction

will be considered and adjudicated after full briefing by the parties.



Date: December     , 2022                     ______________________________________________
                                              THEODORE D. CHUANG
                                              United States District Judge




                                                  2
